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 8                                 UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                   No. 2:13-CR-00160-MCE
12                    Plaintiff,
13         v.                                    ORDER
14   ALEXANDER SAKHANSKIY and
     LARISA SAKHANSKIY,
15
                      DefendantS.
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           This matter is hereby set for a status conference at 10:00 a.m. on Monday,
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     August 3, in Courtroom 7. Both Defendants and their counsel are ORDERED to
19
     personally appear. Failure of a defendant to appear as ordered will result in the
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     immediate issuance of a bench warrant for that defendant’s arrest.
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           IT IS SO ORDERED.
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     Dated: July 30, 2015
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